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OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                       Eastern District of California

                   United States of America                          )
                              v.                                     )
                                                                     )   Case No: 2:04CR00205-02
                  LAMAR JUSTIN JACKSON
                                                                     )   USM No: 15165-097
Date of Previous Judgment: 2/11/05                                   )   David Porter, Assistant Federal Defender
(Use Date of Last Amended Judgment if Applicable)                    )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

       Upon motion of x the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
        DENIED.    X GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 84            months is reduced to 67 months                  .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:       29               Amended Offense Level:                                                 27
Criminal History Category:    II               Criminal History Category:                                             II
Previous Guideline Range: 120    to 121 months Amended Guideline Range:                                                    to 120   months

II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
X The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain):




III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated 2/11/2005                    shall remain in effect.
IT IS SO ORDERED.

Order Date:         7/21/08
                                                                                                  Judge’s signature


Effective Date:                                                             Garland E. Burrell, Jr., United States District Judge
                     (if different from order date)                                             Printed name and title
